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UNITED STATES DISTRICT COURT                                 U.S. DISTRICT COURT E.D.N.Y.
EASTERN DISTRICT OF NEW YORK
                                                            *     APR 12 2019_        *
 IN THE MATTER OF THE SEARCH OF                             LON'3 ISbANc OrFIC~
 ONE BLACK AVVIO CELLULAR                        APPLICATION FOR A SEARCH
 TELEPHONE ("SUBJECT DEVICE");                   WARRANT FOR AN ELECTRONIC
 WHICH IS CURRENTLY LOCATED IN                   DEVICE
 THE EASTERN DISTRICT OF NEW
 YORK                                            caslJ ~ 19                           342
                           AFFIDAVIT IN SUPPORT OF AN
                        APPLICATION UNDER RULE 41 FOR A
                         WARRANT TO SEARCH AND SEIZE


       I, Brian O'Keefe, being first duly sworn, hereby depose and state as follows: 1


                    INTRODUCTION AND AGENT BACKGROUND


       1.      I make this affidavit in support of an application under Rule 41 of the Federal

Rules of Criminal Procedure for a search warrant authorizing the examination of property-

one electronic device-which device is currently in law enforcement possession, and the

extraction from that property of electronically stored information described in Attachment B.

       2.      I have been a Special Agent with the Drug Enforcement Administration

("DEA") for approximately 20 years and am currently assigned to the DEA New York

Division, Long Island District Office. I have been involved in the investigation of numerous




               Because the purpose of this affidavit is to set forth only those facts necessary
to establish probable cause for a search warrant, I have not described all the relevant facts
and circumstances of which I am aware.
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cases involving the trafficking of narcotics. In the course of those investigations, I have

conducted physical surveillance, debriefed cooperating witnesses and confidential

informants, and interviewed civilian witnesses. I have participated in investigations

involving search warrants, including searches of electronic devices, and arrest warrants. As a

result of my training and experience, I am familiar with the techniques and methods of

operation used by individuals involved in criminal activity to communicate with one another

and to conceal their activities from detection by law enforcement authorities.

       3.     The facts in this affidavit come from my personal observations, my training

and experience, and information obtained from other agents and witnesses. This affidavit is

intended to show merely that there is sufficient probable cause for the requested warrant and

does not set forth all of my knowledge about this matter.

       4.     Based on my training and experience and the facts set forth in this affidavit,

there is probable cause to believe that violations of Title 21, United States Code Sections 841

and 846 have been committed (the "Target Offenses"). There is also probable cause to

search the information described in Attachment A for evidence and instrumentalities of these

crimes as described in Attachment B.

              IDENTIFICATION OF THE DEVICE TO BE EXAMINED

       5.     The property to be searched is one black Avvio cellular telephone (the

"SUBJECT DEVICE"). The SUBJECT DEVICE is currently located in the Eastern District

ofNewYork.




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       6.      The applied-for warrant would authorize the forensic examination of the

SUBJECT DEVICE for the purpose of identifying electronically stored data particularly

described in Attachment B.

                                    PROBABLE CAUSE

       7.     On or about January 15, 2019, Joseph Gabriel Bermudez-Matos ("Bermudez-

Matos") arrived at MacArthur Airport in Long Island, New York aboard Southwest Airlines

flight 803 from Baltimore, Maryland, to Islip, New York, having begun his travel aboard

Southwest Airlines flight 627 in San Juan, Puerto Rico.

       8.     At MacArthur Airport, as part of an enforcement operation, two DEA special

agents ("Officer 1" and "Officer 2") approached Bermudez-Matos for participation in a

consensual interview while Bermudez-Matos was walking within the baggage claim area.

Bermudez-Matos had one checked blue-colored roller suitcase (the "Suitcase") and one blue-

colored "Sketchers" knapsack. The handle of the Suitcase was in Bermudez-Matos's hand,

and Bermudez-Matos was walking with the Suitcase, when Officers 1 and 2 approached

Bermudez-Matos. Officer 1 identified Officers 1 and 2 as DEA Special Agents. Officer 1

asked Bermudez-Matos, in sum and substance, whether he owned the Suitcase. Bermudez-

Matos said "no, no," immediately dropped the Suitcase, and ran in the direction of two

automatic exit doors leading outside of MacArthur Airport.

       9.     Officers 1 and 2 pursued Bermudez-Matos. When the automatic exit doors did

not immediately open, Bermudez-Matos turned and continued running within the airport. As

he continued running, he flung a large, cylindrical-shaped trashcan into Officer 1, causing



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Officer 1 to fall and fracture three bones in his shoulder. Officer 2, as well as certain officers

with the Suffolk County Police Department, apprehended Bermudez-Matos.

       10.     Bermudez-Matos was then taken to a law enforcement room within MacArthur

Airport. He was subsequently taken to a smaller examination room within MacArthur

Airport, where he was informed of his right to an attorney. At that time, Bermudez-Matos

provided DEA officers with verbal consent to search the Suitcase, which he acknowledged

belonged to him

       11.     Prior to the provision of verbal consent by Bermudez-Matos to search the

Suitcase, a Certified Narcotics Detection Canine Handler (the "Handler") exposed the

Suitcase to "Dodge," his trained canine, for Dodge to inspect the exterior of the Suitcase. In

response to being exposed to the exterior of the Suitcase, Dodge reacted to the Suitcase,

which, based on the information obtained from the Handler, indicated a positive alert that the

Suitcase contained a controlled substance or the residue of a controlled substance.

       12.     Subsequent to the Handler's inspection of the Suitcase and the verbal consent

by Bermudez-Matos, DEA officers searched the suitcase. That search revealed the presence

of eight large bricks of a white powdery substance. The white powdery substance from the

Suitcase field-tested positive for cocaine. A total gross weight of the eight bricks recovered

from the Suitcase, including their packaging, was approximately 10.5 kilograms.

       13.    On February 14, 2019, a grand jury sitting in the Eastern District of New York

returned a multi-count indictment charging Bermudez-Matos with conspiracy to distribute

and possess with intent to distribute cocaine, in violation of Title 21, United States Code,

Sections 846 and 84l(b)(l)(A)(ii)(II), possession with intent to distribute cocaine, in

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violation of Title 21, United States Code, Sections 841(a)(l) and 84l(b)(l)(A)(ii)(II), and

assault on a federal officer, in violation of Title 21, United States Code, Sections 11 l(a)(l)

and 11 l(b).

        14.    At the time of his January 15, 2019 arrest, Bermudez-Matos was in possession

of the SUBJECT DEVICE. Law enforcement officers took custody of the device at that

time.

        15.    Based on the above, there is probable cause to believe that Bermudez-Matos,

as well as others whose identities are unknown at this time, were involved in the distribution

and possession with intent to distribute a controlled substance. Further, there is probable

cause to believe that information on the SUBJECT DEVICE will produce evidence probative

of the crimes under investigation.

        16.    Based on my training and experience, I know that individuals who engage in

drug trafficking commonly use mobile devices such as cellular telephones to communicate

with co-conspirators through voice calls, text messages, emails, and other means. I further

know that individuals who commit such drug trafficking crimes often use mobile devices to

arrange and plan the execution of the crimes.

        17.    The SUBJECT DEVICE is currently in the lawful possession of the DEA after

being recovered from Bermudez-Matos incident to his lawful arrest.

        18.    The SUBJECT DEVICE is currently located in the Eastern District of New

York. I know that the SUBJECT DEVICE has been stored in a manner in which the contents

are, to the extent material to this investigation, in substantially the same state as they were

when the SUBJECT DEVICE first came into the possession of the DEA.

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                                    TECHNICAL TERMS

      19.      Based on my training and experience, I use the following technical terms to

convey the following meanings:

            a. Wireless telephone: A wireless telephone (or mobile telephone, or cellular

               telephone) is a handheld wireless device used for voice and data

               communication through radio signals. These telephones send signals through

               networks of transmitter/receivers, enabling communication with other wireless

               telephones or traditional "land line" telephones. A wireless telephone usually

               contains a "call log," which records the telephone number, date, and time of

               calls made to and from the phone. In addition to enabling voice

               communications, wireless telephones offer a broad range of capabilities.

               These capabilities include: storing names and phone numbers in electronic

               "address books;" sending, receiving, and storing text messages and e-mail;

               taking, sending, receiving, and storing still photographs and moving video;

               storing and playing back audio files; storing dates, appointments, and other

               information on personal calendars; and accessing and downloading

               information from the Internet. Wireless telephones may also include global

               positioning system ("GPS") technology for determining the location of the

               device.

            b. Digital camera: A digital camera is a camera that records pictures as digital

               picture files, rather than by using photographic film. Digital cameras use a

               variety of fixed and removable storage media to store their recorded images.

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         Images can usually be retrieved by connecting the camera to a computer or by

         connecting the removable storage medium to a separate reader. Removable

         storage media include various types of flash memory cards or miniature hard

         drives. Most digital cameras also include a screen for viewing the stored

         images. This storage media can contain any digital data, including data

         unrelated to photographs or videos.

      c. Portable media player: A portable media player (or "MP3 Player" or iPod) is a

         handheld digital storage device designed primarily to store and play audio,

         video, or photographic files. However, a portable media player can also store

         other digital data. Some portable media players can use removable storage

         media. Removable storage media include various types of flash memory cards

         or miniature hard drives. This removable storage media can also store any

         digital data. Depending on the model, a portable media player may have the

         ability to store very large amounts of electronic data and may offer additional

         features such as a calendar, contact list, clock, or games.

      d. GPS: A GPS navigation device uses the Global Positioning System to display

         its current location. It often contains records the locations where it has been.

         Some GPS navigation devices can give a user driving or walking directions to

         another location. These devices can contain records of the addresses or

         locations involved in such navigation. The Global Positioning System

         (generally abbreviated "GPS") consists of 24 NAVSTAR satellites orbiting the

         Earth. Each satellite contains an extremely accurate clock. Each satellite

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         repeatedly transmits by radio a mathematical representation of the current

         time, combined with a special sequence of numbers. These signals are sent by

         radio, using specifications that are publicly available. A OPS antenna on Earth

         can receive those signals. When a OPS antenna receives signals from at least

         four satellites, a computer connected to that antenna can mathematically

         calculate the antenna's latitude, longitude, and sometimes altitude with a high

         level of precision.

      e. PDA: A personal digital assistant, or PDA, is a handheld electronic device

         used for storing data (such as names, addresses, appointments or notes) and

         utilizing computer programs. Some PDAs also function as wireless

         communication devices and are used to access the Internet and send and

         receive e-mail. PDAs usually include a memory card or other removable

         storage media for storing data and a keyboard and/or touch screen for entering

         data. Removable storage media include various types of flash memory cards

         or miniature hard drives. This removable storage media can store any digital

         data. Most PD As run computer software, giving them many of the same

         capabilities as personal computers. For example, PDA users can work with

         word-processing documents, spreadsheets, and presentations. PDAs may also

         include global positioning system ("OPS") technology for determining the

         location of the device.

      f. Internet: The Internet is a global network of computers and other electronic

         devices that communicate with each other. Due to the structure of the Internet,

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                connections between devices on the Internet often cross state and international

                borders, even when the devices communicating with each other are in the

                same state.

       20.      Based on my training, experience, and research, I know that the SUBJECT

DEVICE has capabilities that allows it to serve as wireless telephones, digital cameras,

portable media players, PDAs, and GPS navigation devices. In my training and experience,

examining data stored on devices of this type can uncover, among other things, evidence that

reveals or suggests who possessed or used the SUBJECT DEVICE.

                 ELECTRONIC STORAGE AND FORENSIC ANALYSIS

       21.      Based on my knowledge, training, and experience, I know that electronic

devices can store information for long periods oftime. Similarly, things that have been

viewed via the Internet are typically stored for some period of time on the device. This

information can sometimes be recovered with forensics tools.

       22.      Forensic evidence. As further described in Attachment B, this application

seeks permission to locate not only electronically stored information that might serve as

direct evidence of the crimes described on the warrant, but also forensic evidence that

establishes how the SUBJECT DEVICE was used, the purpose of its use, who used it, and

when. There is probable cause to believe that this forensic electronic evidence might be on

the SUBJECT DEVICE because:

             a. Data on the storage medium can provide evidence of a file that was once on

                the storage medium but has since been deleted or edited, or of a deleted



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               portion of a file (such as a paragraph that has been deleted from a word

               processing file).

            b. Forensic evidence on a device can also indicate who has used or controlled the

               device. This "user attribution" evidence is analogous to the search for "indicia

               of occupancy" while executing a search warrant at a residence.

            c. A person with appropriate familiarity with how an electronic device works

               may, after examining this forensic evidence in its proper context, be able to

               draw conclusions about how electronic devices were used, the purpose of their

               use, who used them, and when.

            d. The process of identifying the exact electronically stored information on a

               storage medium that are necessary to draw an accurate conclusion is a

               dynamic process. Electronic evidence is not always data that can be merely

               reviewed by a review team and passed along to investigators. Whether data

               stored on a computer is evidence may depend on other information stored on

               the computer and the application of knowledge about how a computer

               behaves. Therefore, contextual information necessary to understand other

               evidence also falls within the scope of the warrant.

            e. Further, in finding evidence of how a device was used, the purpose of its use,

               who used it, and when, sometimes it is necessary to establish that a particular

               thing is not present on a storage medium.

      23.      Nature ofexamination. Based on the foregoing, and consistent with Rule

41(e)(2)(B), the warrant I am applying for would permit the examination of the SUBJECT

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DEVICE consistent with the warrant. The examination may require authorities to employ

techniques, including but not limited to computer-assisted scans of the entire medium, that

might expose many parts of the SUBJECT DEVICE to human inspection in order to

determine whether it is evidence described by the warrant.

       24.     Manner ofexecution. Because this warrant seeks only permission to examine

the SUBJECT DEVICE already in law enforcement's possession, the execution of this

warrant does not involve the physical intrusion onto a premises. Consequently, I submit

there is reasonable cause for the Court to authorize execution of the warrant at any time in

the day or night.




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                                       CONCLUSION

       25.    I submit that this affidavit supports probable cause for a search warrant

authorizing the examination of the SUBJECT DEVICE described in Attachment A to seek

the items described in Attachment B.



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                                                     ~~
                                                        --
                                                Brian O'Keefe
                                                Special Agent
                                                Drug Enforcement Administration


Subscribed and sworn to before me
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                                    ~
     /S/ STEVEN I. LOCKE
                      - - - - -- -
HONUiZA'ffB?STEVEN I. LOCKE
UNITED STATES MAGISTRATE JUDGE
EASTERN DISTRICT OF NEW YORK




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                                    ATTACHMENT A

        The property to be searched is one black Avvio cellular telephone (the "SUBJECT

DEVICE"). The SUBJECT DEVICE is currently located in the Eastern District of New

York.

        This warrant authorizes the forensic examination of the SUBJECT DEVICE for the

purpose of identifying the electronically stored information described in Attachment B.
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                                                  ATTACHMENT B

                   1.      All records on the SUBJECT DEVICE described in Attachment A that relate

        to violations of Title 21, United States Code, Sections 841 and 846 and involve Bermudez-

        Matos and his co-conspirators, including:

                        a. names and telephone numbers, as well as the contents of all call logs, contact

                           lists, text messages (including those sent, received, deleted and drafted),

                           instant messages, photographs, videos, Facebook posts, Internet activity

                           (including browser history, web page logs, and search terms entered by the

                           user), geo-location data, application data, and other electronic media;

                        b. lists of customers and related identifying information;

                        c. types, amounts, and prices of drugs trafficked as well as dates, places, and

                           amounts of specific transactions;

                        d. any information related to sources of drugs (including names, addresses, phone

                           numbers, or any other identifying information);

                        e. any information recording Bermudez-Matos' s schedule or travel;

                        f. all bank records, checks, credit card bills, account information, and other

                           financial records.

               2.          Evidence of user attribution showing who used or owned the SUBJECT

        DEVICE at the time the things described in this warrant were created, edited, or deleted,

        such as logs, phonebooks, saved usemames and passwords, documents, and browsing

        history;

               3.          Evidence of software that would allow others to control the SUBJECT

        DEVICE, such as viruses, Trojan horses, and other forms of malicious software, as well as
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                 evidence of the presence or absence of security software designed to detect malicious

                 software;

                        4.     Evidence of the times the SUBECT DEVICE was used;

                        5.     Passwords, encryption keys, and other access devices that may be necessary to

                 access the SUBJECT DEVICE; and

                        6.     Contextual information necessary to understand the evidence described in this

                 Attachment.

                        As used above, the terms "records" and "information" include all of the foregoing

                 items of evidence in whatever form and by whatever means they may have been created or

                 stored, including any form of computer or electronic storage (such as flash memory or other

                 media that can store data) and any photographic form.




                                                              2
